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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI

UNITED STATES OF AMERICA

V.                                                    CRIMINAL ACTION NO.: 2:08CR028-SA

TERRY KITCHENS                                                                       DEFENDANT

                     ORDER ON MOTION FOR SPECIFIC PERFORMANCE

       Terry Kitchens requests that the Court order specific performance of his plea agreement

entered October 1, 2008. Kitchens contends he agreed to plead to five kilograms of cocaine

hydrochloride, but at sentencing, the Government advocated for a higher drug quantity which

increased his sentencing guidelines range. He contends the Court sentenced him on a higher

level than he should have been pursuant to the plea agreement.

       The Court has reviewed Kitchens’ plea agreement and notes that he did agree to plead

guilty to “conspiracy to possess with intent to distribute in excess of five (5) kilograms of cocaine

hydrochloride . . . .” (emphasis added). More compelling here, though, is paragraph 4, which

states as follows:

       4. SENTENCING. There is no agreement as to the sentence to be imposed,
       which will be in the sole discretion of the Court . . . .

       Accordingly, as the plea agreement specifically contains reference that the parties agree

that there was no agreement as to the sentence, the Defendant cannot now contend an agreement

as to sentence was reached.    Defendant’s Motion Seeking Specific Performance of Plea

Agreement [380] is DENIED.

       SO ORDERED, this the 25th day of June, 2014.

                                                              /s/ Sharion Aycock_________
                                                              U.S. DISTRICT JUDGE
